Case 1:20-cv-03801-RBJ Document 1 Filed 12/28/20 USDC Colorado Page 1 of 11




                         UNITED STATES DISTRICT COURT
                             DISTRICT OF COLORADO

Civil Action No.

Deborah Laufer, an individual,
       Plaintiff,
v.
Ft Collins Lodging LLC,
       Defendant(s).


                                       COMPLAINT
                              (Injunctive Relief Requested)



    Plaintiff, Deborah Laufer, individually (“Plaintiff”) on her own behalf and on behalf

of all other individuals similarly situated, hereby sues the Defendant, Ft Collins

Lodging LLC (“Defendant”), for Injunctive Relief, attorney’s fees, litigation expenses,

and costs pursuant to the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq.

(“ADA”) and damages and attorney fees and costs pursuant to the Colorado Anti-

Discrimination Act ("CADA").

    1. Plaintiff is a resident of Pasco County, Florida, is sui juris, and qualifies as an

individual with disabilities as defined by the ADA. Plaintiff is unable to engage in the

major life activity of walking more than a few steps without assistive devices. Instead,

Plaintiff is bound to ambulate in a wheelchair or with a cane or other support and has

limited use of her hands. She is unable to tightly grasp, pinch and twist of the wrist to

operate. When ambulating beyond the comfort of her own home, Plaintiff must

primarily rely on a wheelchair. Plaintiff requires accessible handicap parking spaces



                                            1
Case 1:20-cv-03801-RBJ Document 1 Filed 12/28/20 USDC Colorado Page 2 of 11




located closest to the entrances of a facility. The handicap and access aisles must be

of sufficient width so that she can embark and disembark from a ramp into her vehicle.

Routes connecting the handicap spaces and all features, goods and services of a

facility must be level, properly sloped, sufficiently wide and without cracks, holes or

other hazards that can pose a danger of tipping, catching wheels or falling. These

areas must be free of obstructions or unsecured carpeting that make passage either

more difficult or impossible. Amenities must be sufficiently lowered so that Plaintiff can

reach them. She has difficulty operating doorknobs, sink faucets, or other operating

mechanisms that tight grasping, twisting of the wrist or pinching. She is hesitant to use

sinks that have unwrapped pipes, as such pose a danger of scraping or burning her

legs. Sinks must be at the proper height so that she can put her legs underneath to

wash her hands. She requires grab bars both behind and beside a commode so that

she can safely transfer, and she has difficulty reaching the flush control if it is on the

wrong side. She has difficulty getting through doorways if they lack the proper

clearance.

    2. Plaintiff is an advocate of the rights of similarly situated disabled persons and

is a "tester" for the purpose of asserting her civil rights and monitoring, ensuring, and

determining whether places of public accommodation and their websites comply with

the ADA.

    3. According to the county property records, Defendant owns a place of public

accommodation as defined by the ADA and the regulations implementing the ADA, 28

CFR 36.201(a) and 36.104. The place of public accommodation that the Defendant


                                            2
Case 1:20-cv-03801-RBJ Document 1 Filed 12/28/20 USDC Colorado Page 3 of 11




owns is a place of lodging known as Clarion Inn Fort Collins and is located at 3836 E

Mulberry St Building B, Fort Collins, CO 80524 in the County of Larimer (hereinafter

“Hotel” or "Property").

    4. Venue is properly located in the District of Colorado because the Hotel is

located in this judicial district.

    5. Pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1343, this Court has been

given original jurisdiction over actions which arise from the Defendant’s violations of

Title III of the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. See also 28

U.S.C. § 2201 and § 2202.

                               Count I - Violation Of The ADA

    6. Plaintiff realleges paragraphs 1-5 as if set forth fully hereunder.

    7. As the owner of the subject place of lodging, Defendant is required to comply

with the ADA. As such, Defendant is required to ensure that it's place of lodging is in

compliance with the standards applicable to places of public accommodation, as set

forth in the regulations promulgated by the Department of Justice. Said regulations

are set forth in the Code of Federal Regulations, the Americans With Disabilities Act

Architectural Guidelines ("ADAAGs"), and the 2010 ADA Standards, incorporated by

reference into the ADA. These regulations impose requirements pertaining to places

of public accommodation, including places of lodging, to ensure that they are

accessible to disabled individuals.

    8. More specifically, 28 C.F.R. Section 36.302(e)(1) imposes the following

requirements:


                                             3
Case 1:20-cv-03801-RBJ Document 1 Filed 12/28/20 USDC Colorado Page 4 of 11




              Reservations made by places of lodging. A public accommodation
              that owns, leases (or leases to), or operates a place of lodging shall,
              with respect to reservations made by any means, including by
              telephone, in-person, or through a third party -
                    (i) Modify its policies, practices, or procedures to ensure that
                    individuals with disabilities can make reservations for accessible
                    guest rooms during the same hours and in the same manner as
                    individuals who do not need accessible rooms;
                    (ii) Identify and describe accessible features in the hotels and
                    guest rooms offered through its reservations service in enough
                    detail to reasonably permit individuals with disabilities to assess
                    independently whether a given hotel or guest room meets his or
                    her accessibility needs;
                    (iii) Ensure that accessible guest rooms are held for use by
                    individuals with disabilities until all other guest rooms of that type
                    have been rented and the accessible room requested is the only
                    remaining room of that type;
                    (iv) Reserve, upon request, accessible guest rooms or specific
                    types of guest rooms and ensure that the guest rooms requested
                    are blocked and removed from all reservations systems; and
                    (v) Guarantee that the specific accessible guest room reserved
                    through its reservations service is held for the reserving
                    customer, regardless of whether a specific room is held in
                    response to reservations made by others.

    9. These regulations became effective March 15, 2012.

    10. Defendant, either itself or by and through a third party, implemented, operates,

controls and or maintains an online reservations system (hereinafter "ORS") for the

Property. The purpose of this ORS is so that members of the public may reserve

guest accommodations and review information pertaining to the goods, services,

features, facilities, benefits, advantages, and accommodations of the Property. As

such, the ORS is subject to the requirements of 28 C.F.R. Section 36.302(e).

    11. Prior to the commencement of this lawsuit, Plaintiff visited the ORS for the

purpose of reviewing and assessing the accessible features at the Property and



                                            4
Case 1:20-cv-03801-RBJ Document 1 Filed 12/28/20 USDC Colorado Page 5 of 11




ascertain whether it meets the requirements of 28 C.F.R. Section 36.302(e) and her

accessibility needs. However, Plaintiff was unable to do so because Defendant failed

to comply with the requirements set forth in 28 C.F.R. Section 36.302(e). As a result,

Plaintiff was deprived the same goods, services, features, facilities, benefits,

advantages, and accommodations of the Property available to the general public.

Specifically, With respect to the website located at: www.hotels.com, it did not comply

with the Regulation because it did not identify accessible rooms, did not allow for

booking of accessible rooms and provided insufficient information as to whether the

rooms or features at the hotel are accessible. Hotel amenities, room types and

amenities are all listed in detail. No information was given about accessibility in the

hotel other than the statement “Wheelchair-accessible path to lift”. With respect to the

website located at: www.priceline.com, it did not comply with the Regulation because

it did not identify accessible rooms, did not allow for booking of accessible rooms and

provided insufficient information as to whether the rooms or features at the hotel are

accessible. Hotel amenities, room types and amenities are all listed in detail. No

information was given about accessibility in the hotel. With respect to the website

located at: www.agoda.com, it did not comply with the Regulation because it did not

identify accessible rooms, did not allow for booking of accessible rooms and provided

insufficient information as to whether the rooms or features at the hotel are

accessible. Hotel amenities, room types and amenities are all listed in detail. No

information was given about accessibility in the hotel. With respect to the website

located at: www.cheaptickets.com, it did not comply with the Regulation because it did


                                           5
Case 1:20-cv-03801-RBJ Document 1 Filed 12/28/20 USDC Colorado Page 6 of 11




not identify accessible rooms, did not allow for booking of accessible rooms and

provided insufficient information as to whether the rooms or features at the hotel are

accessible. Hotel amenities, room types and amenities are all listed in detail. No

information was given about accessibility in the hotel other than the statement

“Wheelchair-accessible path to elevator”. With respect to the website located at:

www.travelocity.com, it did not comply with the Regulation because it did not identify

accessible rooms, did not allow for booking of accessible rooms and provided

insufficient information as to whether the rooms or features at the hotel are

accessible. Hotel amenities, room types and amenities are all listed in detail. No

information was given about accessibility in the hotel other than the statement

“Wheelchair-accessible path to elevator”. With respect to the website located at:

www.hotels.bookety.com, it did not comply with the Regulation because it did not

identify accessible rooms, did not allow for booking of accessible rooms and provided

insufficient information as to whether the rooms or features at the hotel are

accessible. Hotel amenities, room types and amenities are all listed in detail. No

information was given about accessibility in the hotel other than the statement

“Wheelchair-accessible path to lift”.

    12. Plaintiff has family in Colorado and has been to the State numerous times to

visit. She plans to visit the State as soon as the COVID crisis subsides and will travel

throughout the entire State and will stay in area hotels. The failure of Defendant's

hotel to allow for booking of accessible rooms and provide the information required

impedes her ability to make a meaningful choice in making her plans. In addition to


                                           6
Case 1:20-cv-03801-RBJ Document 1 Filed 12/28/20 USDC Colorado Page 7 of 11




revisiting the hotel's online reservation system in the near future to ascertain whether

or not it complies with the requirements of 28 C.F.R. Section 36.304(e)(1), she intends

to review the system to ascertain whether the hotel meets her accessibility needs so

that she can plan her trip.

    13. Plaintiff is continuously aware that the subject ORS remains non-compliant

and that it would be a futile gesture to revisit it as long as those violations exist unless

she is willing to suffer additional discrimination.

    14. The violations present at Defendant's ORS infringe Plaintiff's right to travel free

of discrimination and deprive her of the information required to make meaningful

choices for travel. Plaintiff has suffered, and continues to suffer, frustration and

humiliation as the result of the discriminatory conditions present at Defendant's ORS.

By continuing to operate the ORS with discriminatory conditions, Defendant

contributes to Plaintiff's sense of isolation and segregation and deprives Plaintiff the

full and equal enjoyment of the goods, services, facilities, privileges and/or

accommodations available to the general public. By encountering the discriminatory

conditions at Defendant's ORS and knowing that it would be a futile gesture to return

to the ORS unless she is willing to endure additional discrimination, Plaintiff is

deprived of the same advantages, privileges, goods, services and benefits readily

available to the general public. By maintaining a ORS with violations, Defendant

deprives Plaintiff the equality of opportunity offered to the general public. Defendant's

online reservations system serves as a gateway to its hotel. Because this online

reservation system discriminates against Plaintiff, it is thereby more difficult to book a


                                              7
Case 1:20-cv-03801-RBJ Document 1 Filed 12/28/20 USDC Colorado Page 8 of 11




room at the hotel or make an informed decision as to whether the facilities at the hotel

are accessible.

    15. Plaintiff has suffered and will continue to suffer direct and indirect injury as a

result of the Defendant’s discrimination until the Defendant is compelled to modify its

ORS to comply with the requirements of the ADA and to continually monitor and

ensure that the subject ORS remains in compliance.

    16. Plaintiff has a realistic, credible, existing and continuing threat of discrimination

from the Defendant’s non-compliance with the ADA with respect to the ORS. Plaintiff

has reasonable grounds to believe that she will continue to be subjected to

discrimination in violation of the ADA by the Defendant.

    17. The Defendant has discriminated against the Plaintiff by denying her access

to, and full and equal enjoyment of, the goods, services, facilities, privileges,

advantages and/or accommodations of the subject website.

    18. The Plaintiff and all others similarly situated will continue to suffer such

discrimination, injury and damage without the immediate relief provided by the ADA as

requested herein.

    19. Defendant has discriminated against the Plaintiff by denying her access to full

and equal enjoyment of the goods, services, facilities, privileges, advantages and/or

accommodations of its place of public accommodation or commercial facility in

violation of 42 U.S.C. § 12181 et seq. and 28 CFR 36.302(e). Furthermore, the

Defendant continues to discriminate against the Plaintiff, and all those similarly

situated by failing to make reasonable modifications in policies, practices or


                                              8
Case 1:20-cv-03801-RBJ Document 1 Filed 12/28/20 USDC Colorado Page 9 of 11




procedures, when such modifications are necessary to afford all offered goods,

services, facilities, privileges, advantages or accommodations to individuals with

disabilities; and by failing to take such efforts that may be necessary to ensure that no

individual with a disability is excluded, denied services, segregated or otherwise

treated differently than other individuals because of the absence of auxiliary aids and

services.

    20. Plaintiff is without adequate remedy at law and is suffering irreparable harm.

Plaintiff has retained the undersigned counsel and is entitled to recover attorney’s

fees, costs and litigation expenses from the Defendant pursuant to 42 U.S.C. § 12205

and 28 CFR 36.505.

    21. Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant

Plaintiff Injunctive Relief, including an order to require the Defendant to alter the

subject ORS to make them readily accessible and useable to the Plaintiff and all other

persons with disabilities as defined by the ADA and 28 C.F.R. Section 36.302(e); or

by closing the ORS until such time as the Defendant cures its violations of the ADA.

        Count II - Damages, Attorneys’ Fees And Costs Pursuant to CADA

    22. Plaintiff realleges paragraphs 1-13 as if set forth fully hereunder.

    23. The Defendant’s hotel is a place of public accommodation within the meaning

of the CADA, Section 24-34-601.

    24. Plaintiff has a "disability" within the meaning of CADA Section 24-34-301.

    25. The CADA, at Section 24-34-601(2)(a) provides: “It is a discriminatory practice

and unlawful for a person, directly or indirectly, to refuse, withhold from, or deny to an


                                             9
Case 1:20-cv-03801-RBJ Document 1 Filed 12/28/20 USDC Colorado Page 10 of 11




individual... because of disability ... the full and equal enjoyment of the goods,

services, facilities, privileges, advantages, or accommodations of a place of public

accommodation."

    26. Defendant has violated the CADA. As a result, Plaintiff has suffered

humiliation, embarrassment, frustration, segregation, exclusion, the loss of equality of

opportunity and full and equal access to Defendant's services and has otherwise been

damaged.

    27. Pursuant to CADA, Section 24-34-802, Plaintiff may bring a civil suit in a court

of competent jurisdiction and is entitled to: (I) A court order requiring compliance with

the provisions of the applicable section; (II) The recovery of actual monetary

damages; or (III) A statutory fine not to exceed three thousand five hundred dollars

and an award of attorneys’ fees and costs.

    WHEREFORE, Plaintiff respectfully requests:

    a. The Court issue a Declaratory Judgment that determines that the Defendants

       at the commencement of the subject lawsuit is in violation of Title III of the

       Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. and the CADA.

    b. The Court issue a Declaratory Judgment that determines that the Defendants

       at the commencement of the subject lawsuit is in violation of Title III of the

       Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. and 28 C.F.R.

       Section 36.302(e).

    c. Injunctive relief against the Defendants including an order to revise its ORS to

       comply with 28 C.F.R. Section 36.302(e) and to implement a policy to monitor


                                           10
Case 1:20-cv-03801-RBJ Document 1 Filed 12/28/20 USDC Colorado Page 11 of 11




      and maintain the ORS to ensure that it remains in compliance with said

      requirement.

   d. An award of attorney’s fees, costs, and litigation expenses pursuant to 42

      U.S.C. § 12205.

   e. An   award     of   damages     for    her   humiliation,   exclusion,   frustration,

      embarrassment segregation and denial of full and equal enjoyment.

   f. An award of attorneys’ fees and cots pursuant to the CADA.

   g. Statutory damages pursuant to the CADA.

   h. Such other relief as the Court deems just and proper, and/or is allowable

      under Title III of the Americans with Disabilities Act.

Dated: December 28, 2020.
                                            Respectfully submitted,
                                            s/ Suzette M. Marteny Moore
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                                            11
